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 4
     Attorney for: ABDUL RASHID TANKO
 5

 6                       IN THE UNITED STATES DISTRICT COURT

 7                     FOR THE EASTERN DISTRICT OF CALIFORNIA

 8

 9   UNITED STATES OF AMERICA,                     )    No. CR-S-06-0127 GEB
                                                   )
10                       Plaintiff,                )
                                                   )    STIPULATION AND ORDER
11         vs.                                     )
                                                   )
12   ABDUL RASHID TANKO and,                       )
     NEAL FRANCIS BRADY,                           )
13                                                 )
                         Defendants.               )
14                                                 )

15
           Defendants, ABDUL RASHID TANKO, through his attorney, PETER
16
     KMETO, NEAL FRANCIS BRADY, through his attorney, RACHELLE BARBOUR
17
     and the United States of America, through its counsel of record, ELLEN V.
18
     ENDRIZZI, stipulate and agree to the following revised motion schedule:
19
           1. The presently scheduled date of May 26, 2006 for Status Conference
20
     Hearing shall be vacated and said Status Conference Hearing be rescheduled for
21
     July 7 th , 2006 at 9:00 a.m..
22
           The Defense was sent: 109 pages; 3 video tapes; and, 2 CD’s of discovery
23
     by the government on or about May 1, 2006. Defense counsel have not had an
24
     adequate opportunity to review said discovery . Accordingly, the parties stipulate
25
     that time be excluded for the pendency of this motion pursuant to 18 U.S. C.
26
     §3161(h)(8)(B)(iv) [Local Code T4] – additional time to adequately prepare for
27

28                                           -1-
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 1   pretrial proceedings.

 2

 3   IT IS SO STIPULATED.

 4   Dated:   May 23, 2006
                                                     /s/
 5                                                  ELLEN V. ENDRIZZI
                                                    Assistant U.S. Attorney
 6                                                  for the Government

 7

 8
     Dated:   May 23, 2006                           /s/
 9                                                  PETER KMETO
                                                    Attorney for Defendant
10                                                  RAHMAN ABUL SHADEBADI

11

12   Dated:   May 23, 2006                          /s/
                                                    RACHELLE BARBOUR
13                                                  Attorney for Defendant
                                                    NEAL FRANCIS BRADY
14

15
                                            ORDER
16
                  UPON GOOD CAUSE SHOW N and the stipulation of all parties, it is
17
     ordered that the hearing on motions be continued as set forth above.
18
                  The Court finds excludable time pursuant to18 U.S.C. §3161
19
     (h)(8)(B)(iv) [Local Code T4] until July 7, 2006, to permit counsel to prepare.
20

21
     Dated: June 2, 2006
22

23                                          /s/ Garland E. Burrell, Jr.
                                            GARLAND E. BURRELL, JR.
24                                          United States District Judge

25

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